     Case 2:19-cv-00050-LGW-BWC Document 4 Filed 04/17/19 Page 1 of 7



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION



THE GLYNN ENVIROMENTAL
COALITION, INC., et al ,

               Plaintiff,                                  CIVIL ACTION NO.: 2:18-cv-50

        v.

SEA ISLAND ACQUISITION, LLC,

               Defendant,



                              RULE 26 INSTRUCTION ORDER

        The above-captioned case having recently been filed in this Court, the Court issues the

following Order to provide instructions to the parties regarding their initial discovery obligations

and to institute initial case management proceedings.

I.      Rule 26(f) Conference

        Federal Rule of Civil Procedure 26(f) requires the parties to confer, develop a proposed

discovery plan, and submit a report to this Court. Subsequent to the filing of the report, a

Scheduling Order must be entered pursuant to Federal Rule of Civil Procedure 16(b). Therefore,

by the earlier of: (1) sixty (60) days after any defendant has been served with the complaint;

or (2) forty-five (45) days after any defendant has appeared, the parties shall confer as

provided in Rule 26(f). See Local R. 26.1(a).1 For removed cases, the parties shall be guided by

the deadlines in Local Rule 26.1(e).


                                                            
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     The Rule 26(f) Conference may be held telephonically and should be attended by any unrepresented
parties and counsel for any represented parties.
      Case 2:19-cv-00050-LGW-BWC Document 4 Filed 04/17/19 Page 2 of 7



         During the Rule 26(f) Conference, the parties shall discuss the nature and bases of their

claims and defenses, the possibilities for a prompt settlement or resolution of the case, and the

scope, type, manner, and costs of discovery. In addressing settlement or early resolution of

the case, counsel shall not only explore the feasibility of alternative dispute resolution

between themselves but shall also discuss the potential for settlement and alternative

dispute resolution with their clients as well. The parties shall also make or arrange for the

disclosures required by Rule 26(a)(l) and develop their joint proposed scheduling/discovery plan.

The parties shall use the updated Form Rule 26(f) Report for use in Judge Wood/Judge Cheesbro

cases as a guide for their conference. These are only the minimum requirements for the

meeting. The Court orders the parties to have a comprehensive discussion and to approach the

meeting in good faith and with cooperation.

II.      Rule 26(f) Report

         Within fourteen (14) days after the required Rule 26(f) Conference, the parties shall

submit to the Court a written Report outlining their discovery plan. See Local R. 26.1(b). The

Report shall conform to the language and format of the Form Rule 26(f) Report for use in Judge

Wood/Judge Cheesbro cases located on the Court’s website www.gasd.uscourts.gov under

“Forms.”2 The parties should use that Form, as well as this Instruction Order, to guide their

discussion at their Rule 26(f) Conference.

         The parties shall work together to prepare the Report, and the deadlines in the Report

should be mutually agreeable, with a view to achieving resolution of the case with minimum

expense and delay. To the extent the parties cannot agree on an item in the Report, they shall so
                                                            
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     The parties must use the current version of this Form located on the Court’s website when preparing
their Report. When using this fillable Word document, the parties are reminded to follow the Court’s
procedures for electronic filings, detailed below in Section VI. Specifically, counsel shall not print and
then scan the Rule 26(f) Report before filing but should instead directly convert the completed report into
a text-searchable PDF for filing.


                                                    2
   Case 2:19-cv-00050-LGW-BWC Document 4 Filed 04/17/19 Page 3 of 7



indicate in the Report. A party who cannot gain the cooperation of any other party in preparing

the Rule 26(f) Report should advise the Court of the other party’s failure to cooperate prior to the

Report filing deadline.

         Should any party seek a stay of discovery or their obligation to file the Rule 26 Report or

seek the extension of any other deadline in this case (including an extension of discovery or of a

deadline to respond to a motion or to file any other pleading), the party should first contact all

other parties and determine if the other parties join in, consent to, or oppose the request. When

filing a motion seeking a stay or an extension, the moving party must state in its motion whether

the other parties join in, consent to, or oppose the request.

III.     Electronically Stored Information

         During the Rule 26(f) Conference, the parties shall specifically discuss the preservation

and production of electronically stored information. That discussion shall include, as to each

party:

         A.     The electronic sources and records the party maintains and how the party’s
                electronic data and records are stored;

         B.     The electronic sources and records each party will search and the method
                of search that will be used (including any search terms);

         C.     The difficulty/ease of retrieving various data and information and who will
                bear the costs of retrieval and production;

         D.     The format and media agreed to by the parties for the production of
                electronically stored information (including any production of meta-data),
                as well as agreed procedures for such production;

         E.     The persons most familiar with the party’s computer and electronic
                storage system and the persons who are responsible for preservation of
                electronically stored information, including any third parties who may
                have access to or control over any such information;

         F.     Whether reasonable measures have been implemented to preserve data,
                including the party’s document retention/destruction policy, whether the
                party has placed a “litigation hold” preventing destruction of potentially


                                                  3
     Case 2:19-cv-00050-LGW-BWC Document 4 Filed 04/17/19 Page 4 of 7



               relevant records, and whether the issuance of a preservation order is
               required; and

        G.     The extent to which search and disclosure of electronic data should be
               limited to that which is available in the normal course of business or
               otherwise and the anticipated scope, cost, and time required for search and
               disclosure of such information beyond that which is available in the
               normal course of business.

IV.     Privileged, Protected, or Confidential Information

        During the Rule 26(f) Conference, the parties shall discuss specifically the discovery and

production of privileged, protected, or confidential information. That discussion shall include:

        A.     The methods the parties will employ to assert claims of privilege,
               protection, or confidentiality, including the form and substance of any
               privilege logs;

        B.     Whether the parties anticipate discovery issues or challenges arising from
               non-disclosure of allegedly privileged, protected, or confidential
               information;

        C.     Whether reasonable date ranges should be established for which privilege
               log entries for privileged, protected, or confidential information need not
               be made;

        D.     Whether the parties will request a protective order to prevent the further
               release of information disclosed in discovery; and

        E.     As contemplated by Rule 502(e) of the Federal Rules of Evidence,
               whether there is a need for the terms of any agreement regarding
               disclosure of privileged attorney-party communications or confidential
               work product to be incorporated into a court order and whether the parties
               will seek court approval of any such agreement.

V.      Scheduling Conference

        The Court may hold a Scheduling Conference after receipt of the parties’ Rule 26(f)

Report and before issuing a Scheduling Order. At that conference, the Court will discuss in

detail the parties’ proposed discovery plan and scheduling order, as well as any issues the parties

raise in their Rule 26(f) Report. This Conference need only be attended by counsel and by any

unrepresented parties. Ordinarily, the Court will allow appearance at the Scheduling Conference



                                                4
   Case 2:19-cv-00050-LGW-BWC Document 4 Filed 04/17/19 Page 5 of 7



via telephone. If a Scheduling Conference is necessary, it should be held no more than twenty

(20) days after the submission of the parties’ Rule 26(f) Report.

VI.    Form of Electronic Filings

       The parties are directed to read and follow the Court’s revised Administrative Procedures

for Filing, Signing, and Verifying Pleadings and Papers by Electronic Means, available on the

Court’s website www.gasd.uscourts.gov under “For Attorneys” and “Administrative Procedures

for Electronic Filing.” Documents in their native format such as Word or WordPerfect must be

converted into a text-searchable PDF before filing. Most word processing applications allow

publishing or converting to PDF within the application. There are also commercial and free PDF

converters available for use. Participants should not print and scan electronic documents for

submission into CM/ECF. Documents should not be scanned prior to e-filing unless the

original documents are unavailable in electronic format or require original signature.

Attachments not available in electronic format shall be scanned by the filer into PDF format for

electronic submission. The participant is responsible for the legibility of the uploaded image.

For assistance with conversion or scanning, contact the CM/ECF Helpdesk at (912) 650-4010 or

ecf_web@gasd.uscourts.gov.

VII.   Resolution of Discovery Disputes

       It is hereby ORDERED that the following steps be undertaken by all parties prior to the

filing of any discovery motions. This includes any motions filed pursuant to Title V of the

Federal Rules of Civil Procedure, including but not limited to motions to compel, motions to

quash, motions for a protective order, disputed motions for extensions of time to conduct

discovery, disputed motions for examination, or motions for discovery sanctions.




                                                 5
    Case 2:19-cv-00050-LGW-BWC Document 4 Filed 04/17/19 Page 6 of 7



       A.      The parties are strongly encouraged to informally resolve all discovery
               issues and disputes without the necessity of Court intervention. In that
               regard, the parties are first required to confer and fully comply with Rules
               26 and 37 of the Federal Rules of Civil Procedure and Local Rule 26.5 by
               undertaking a sincere, good faith effort to resolve all differences without
               Court action or intervention.

       B.      In the event that reasonable, good faith efforts have been made by all
               parties to confer and attempt to resolve any differences, without success,
               the parties are then required to schedule a telephonic conference with the
               Magistrate Judge in an effort to try to resolve the discovery dispute prior
               to the filing of any motions.3 The parties shall exhaust the first two
               steps of the process before filing any motions, briefs, memoranda of
               law, exhibits, deposition transcripts, or any other discovery materials
               with the Court.

       C.      If the dispute still cannot be resolved following a telephonic conference
               with the Magistrate Judge, then the Court will entertain a discovery
               motion. In connection with the filing of any such motions, the moving
               party shall submit the appropriate certifications to the Court, as required
               by Federal Rules of Civil Procedure Rules 26 and 37.

       The Court will refuse to hear any discovery motion unless the parties have made a

sincere, good faith effort to resolve the dispute and there has been strict compliance with all of

the above-identified steps. Failure to fully comply with all of the prerequisite steps may result in

a denial of any motion, with prejudice, and may result in an award of costs and reasonable

attorney’s fees.

 




                                                            
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    The parties may schedule such a conference by contacting the Magistrate Judge’s Courtroom Deputy
Clerk.


                                                 6
   Case 2:19-cv-00050-LGW-BWC Document 4 Filed 04/17/19 Page 7 of 7



                                        CONCLUSION

       Plaintiff’s counsel, or if applicable, the pro se plaintiff, shall ensure that a copy of this

Order is served upon all parties without delay.

       SO ORDERED, this 17th day of April, 2019.




                                      _____________________________________
                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA




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